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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------x
                                   :
UNITED STATES OF AMERICA           :           ORDER
                                   :
         - v -                     :           (S2) 14 Cr. 401 (KPF)
                                   :
HAJI NAJIBULLAH,                   :
                     Defendant.    :
                                   :
-----------------------------------x

     Upon the application of HAJI NAJIBULLAH a/k/a NESAR AHMED

MOHAMMED, by his attorney, Andrew J. Dalack, Esq., Federal Defenders

of New York, and in the interests of justice, it is hereby

     ORDERED that the Warden of MDC Brooklyn arrange, without delay,

for Nesar Ahmed Mohammed (Register Number 76469-054) to be evaluated

by a licensed medical doctor to address his persistent                     ,

         , and            , and it is further

     ORDERED that the Warden of MDC promptly provide Nesar Ahmed

Mohammed (Register Number 76469-054) with the results of any medical

evaluation so that he may work with his assigned counsel and their

interpreter to translate the documents into his native language.



Dated:     New York, NY
                 23 2022
           March __,               THE HONORABLE KATHERINE POLK FAILLA
                                   UNITED STATES DISTRICT JUDGE
